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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION
FEDERAL TRADE COMMISSION,
Plaintiff,
v. Case No: 8:14-ev-2153-T-27EAJ
SUN BRIGHT VENTURES LLC, et al.,

Defendants, and

TRIDENT CONSULTING
PARTNERS LLC, et al.,

Relief Defendants.
/

ORDER
THIS CAUSE is before the Court sua sponte. As stipulated final orders and permanent
injunctions have been entered against all Defendants (Dkts. 40, 41), settling all matters in this
dispute, the Clerk is directed to CLOSE the file.

DONE AND ORDERED this /@ * day of September, 2015.

    

 

ES D. WHITTEMORE
nited States District Judge

Copies to: Counsel of Record
Pro se Parties
